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                             UNITED STATES DISTRICT COURT                             SEP 22 2010

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                              DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION

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                           *
 UNITED STATES OF AMERICA, *          CR. 09-40105-10
                           *
           Plaintiff,      *
                           *
      vs.                  *  REPORT AND RECOMMENDATION
                           *    ON DEFENDANT'S CHANGE
 GARY ENTINGER,            *          OF PLEA
                           *
           Defendant.      *
                           *
 ***************************************************


       This matter came before the court for a change of plea hearing on Wednesday, September

22,2010. The Defendant, Gary Entinger, appeared in person and by his counsel, Pat Schroeder,

while the United States appeared by its Assistant United States Attorney, John Haak.

       The defendant consented in open court to the change of plea before a United States

magistrate judge. This court finds that the defendant's consent was voluntary and upon the advice

of counsel. The government also consented to the plea hearing before a magistrate judge

       Defendant has reached a plea agreement wherein he intends to plead guilty to the Third

Superseding Indictment which charges him with Conspiracy to Distribute a Controlled Substance

in violation of 21 U.S.C. §§ 841(a)(l) and 846. At the hearing, the defendant was advised of the

nature of the charges to which the defendant would plead guilty and the maximum penalties

applicable, specifically: mandatory minimum 10 years imprisonment; maximum life imprisonment;

a $4 million fine; or both; 5 years supervised release; 5 additional years imprisonment if supervised

release is revoked; and a $100 special assessment.
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       Upon questioning the defendant personally in open court, it is the finding of the court that

the defendant is fully competent and capable of entering an informed plea, that the defendant is

aware of the nature of the charges and the consequences of the plea, and that his plea of guilty to the

Third Superseding Indictment is a knowing and voluntary plea supported by an independent basis

in fact containing each of the essential elements of the offense. The defendant's guilty plea to the

Third Superseding Indictment is accepted. It is my report and recommendation that the defendant

be adjudged guilty of that offense.

                                      NOTICE TO PARTIES

       The parties have fourteen (14) days after service of this Report and Recommendation to file

written objections pursuant to 28 U.S.c. § 636(b)(1), unless an extension of time for good cause is

obtained. Failure to file timely objections will result in the waiver of the right to appeal questions

of fact. Objections must be timely and specific in order to require de novo review by the District

Court. Thompson v. Nix, 897 F.2d 356 (8 th Cir. 1990); Nash v. Black, 781 F.2d 665 (8 th Cir. 1986).

       Dated this 22 nd day of September, 2010.

                                               BY THE COURT:

                                               S/JoM E. Simko


                                               JOM E. Simko
                                               United States Magistrate Judge




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